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                                 UNITED STATES DISTRICT COURT

                                WESTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                                       *        CRIMINAL NO. 6:06-60074-05

  VERSUS                                                         *        JUDGE DOHERTY

  MARIA AIDE DELGADO                                             *        MAGISTRATE JUDGE HILL

                                 REPORT AND RECOMMENDATION

           Pending before the undersigned for Report and Recommendation is the Motion for

  Independent Consideration of 5K1.1 Eligibility, filed in proper person by Maria Aide

  Delgado (“Delgado”).1             [Rec. Doc. 659]. The Government has filed a Response In

  Opposition [Rec. Doc. 674]. For the following reasons, the court recommends that the

  Motion be DENIED.

                                                 BACKGROUND

           On November 16, 2006, Delgado was named in a multi-count indictment charging

  her with conspiracy to possess with intent to distribute cocaine, cocaine base and marihuana

  in violation of 21 U.S.C. §846 (Count 1), unlawful use of a communication facility in

  violation of 21 U.S.C. § 843(b) (Counts 5 and 7), distribution of cocaine in violation of 21

  U.S.C. §841(a)(1) and 18 U.S.C. § 2 (Count 6), possession of a firearm in furtherance of a

  drug trafficking crime in violation of 18 U.S.C. § 924(c)(1) (Count 14), and forfeiture

  pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 924(d)(1) (Counts 16 and 17). [rec. doc. 1].




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             The undersigned has granted Ms. Delgado permission to file pro se Motions which have been reviewed
  and certified by counsel as lacking sufficient basis in law or fact for counsel to file on the defendant’s behalf.
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          On November 14, 2007, Delgado was named in a superceding indictment in which she

  was additionally charged with conspiracy to commit money laundering in violation of 18

  U.S.C. § 1956(h) (Count 15).2 [rec. doc. 235].

          On December 16, 2008, the defendant appeared in open court and pleaded guilty as

  charged to Count 1 of the indictment. [rec. doc. 463].                  In connection with the plea, the

  parties entered into a written plea agreement which provided in pertinent part as follows:

                   The defendant agrees to cooperate fully and truthfully in the
                   Government’s investigation and prosecution of the acts which
                   led and relate to the charges in this matter and any other criminal
                   activity about which she has knowledge, such cooperation
                   including, but not limited to, testifying before the Grand Jury or
                   at trial if requested. Defendant understands that her failure to
                   testify truthfully can result in her being prosecuted for perjury or
                   giving false statements and in the Government withdrawing this
                   Plea Agreement. [rec. doc. 464, pg. 2, ¶1(B)].

                                    ...

                   In exchange for the consideration set forth in Paragraph One (1)
                   above, the United States Attorney for the Western District of
                   Louisiana agrees . . .

                                    ...

                   If the defendant’s cooperation is completed prior to sentencing,
                   the United States agrees to consider whether such cooperation
                   qualifies as “substantial assistance” pursuant to Section 5k1.1 of
                   the United States Sentencing Commission Guidelines Manual,
                   Title 18, United States Code, Section 3553(e), and the policy of
                   the United States Attorney for the Western District of Louisiana,
                   so as to warrant the filing of a motion at the time of sentencing


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           In the superceding indictment, original Count 14 was renumbered as Count 13, and original Counts 16 and
  17 were renumbered as Counts 22 and 23.

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               seeking downward departure from the below stated statutory
               minimum penalties . . .[rec. doc. 464, pg. 4, ¶2(B)].

               ...

               At or before the time of sentencing, the United States will advise
               the Court of any assistance provided by the defendant in the
               ongoing investigation into her narcotics sources, and all other
               criminal offenders, including narcotic traffickers, about whom
               she has knowledge, and related criminal activity within the
               Western District of Louisiana and elsewhere, or in the
               prosecution of another person who has committed a criminal
               offense. The United States may, but shall not be required to,
               make a motion requesting the Court to depart from the
               sentencing range called for by the guidelines in the event she
               provides “substantial assistance.” This decision shall be in the
               sole and non-reviewable discretion of the United States
               Attorney.

               It is understood and agreed that a motion for departure shall not
               be made, under any circumstances unless defendant’s
               cooperation is deemed “substantial” by the United States
               Attorney. The United States has made no promise, implied or
               otherwise, that the defendant will be granted a “departure” for
               “substantial assistance.” Further, no promise has been made that
               a motion will be made for departure even if the defendant
               complies with the terms of this agreement in all respects, but has
               been unable to provide “substantial assistance.” [rec. doc. 464,
               pg. 7-8, ¶3(H)].

        During the plea colloquy, after Mr. Grayson’s recitation of the above, Judge

  Doherty expressly advised Delgado about the discretionary nature of the government’s

  agreement regarding the filing of a 5k1.1 Motion, verifying that Delgado understood as

  follows:

        THE COURT: Now you understand, Ms. Delgado, that the government has
        the choice to file those or not, and there’s very little if anything this Court

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         can do if the government feels that your cooperation has not been
         substantial. You understand that?

         THE DEFENDANT: Yes, Your Honor.
         [plea trs., pg. 39-40].

         In the instant Motion Delgado asserts that Assistant United States Attorney Brett

  Grayson (“Grayson”) made a “specific demand . . . requiring specific testimony against a

  particular co-defendant in this case and when [she] refused to provide testimony against

  that [co-defendant]”, Grayson indicated that he would not file a Section 5k1.1 Motion on

  her behalf.

         Thus, Delgado contends that Grayson’s decision is arbitrary, capricious and

  unconstitutional because he “sought to use the 5k1.1 to coerce [her] into testimony. . . .”

  She therefore requests that this court remove Grayson from her case and that the court,

  thereafter, make “an objective determination of whether her assistance was substantial

  and sufficient for a 5k1.1 recommendation. . . . ”

         The government responds that Delgado has not alleged nor proven that any

  unconstitutional motive motivated its decision not to file a Section 5k1.1 Motion on

  Delgado’s behalf. Moreover, the government asserts that under the terms of the plea

  agreement, it has unfettered discretion to determine if a Section 5k1.1 Motion should be

  filed, and that, considering Delgado’s acknowledgment that she has refused to provide

  information regarding a “particular co-defendant”, about whom its investigation reveals

  that Delgado has knowledge of illegal activities, it was justified in determining that



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  Delgado should not be rewarded by the filing of such a Motion.

                                   LAW AND ANALYSIS

         Absent a motion for downward departure made by the Government pursuant to 18

  U.S.C. § 3553(e), a sentencing court is without authority to grant a downward departure

  on the basis of substantial assistance under guideline § 5K1.1. United States v. Price, 95

  F.3d 364, 367 (5 th Cir. 1996) citing Wade v. United States, 504 U.S. 181, 184, 112 S.Ct.

  1840, 1843, 118 L.Ed.2d 524 (1992); See also United States v. Solis, 169 F.3d 224, 226

  (5 th Cir. 1999); and Melendez v. United States, 518 U.S. 120, 116 S.Ct. 2057, 2063

  (1996). Where applicable, section 5K1.1 "gives the Government a power, not a duty, to

  file a motion when a defendant has substantially assisted." Id. Put differently, “§ 5K1.1

  does not require the government to move for a downward departure if the defendant

  provides substantial assistance, but rather grants the government discretionary power to

  make such a motion.” Id. citing United States v. Garcia-Bonilla, 11 F.3d 45, 46 (5th

  Cir.1993). Accordingly, a defendant who provides substantial assistance without

  receiving a downward departure is not entitled to a remedy. Garcia-Bonilla, 11 F.3d at

  46.

         Generally, the prosecutor's exercise of this discretion is not subject to review.

  However, there are two limitations on the government’s discretion. First, a district court

  may review the government’s refusal to move for a downward departure based on

  substantial assistance if the refusal is based on an unconstitutional motive, such as the

  defendant’s membership in an identified group, her race or religion. Solis, 169 F.3d at


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  226-227 citing Price, 95 F.3d at 368 citing Wade, 504 U.S. at 185, 112 S.Ct. at 1843-44;

  See also United States v. Aderholt, 87 F.3d 740, 743 (5 th Cir. 1996); United States v.

  Urbani, 967 F.2d 106, 110 (5 th Cir. 1992). Generalized allegations of an improper motive

  are insufficient to establish a constitutional violation. Wade, 112 S.Ct. at 1844.

         Second, the government may bargain away it’s discretion under the terms of the

  plea agreement and thereby obligates itself to move for a downward departure in

  exchange for substantial assistance. Solis, 169 F.3d at 226-227. In those cases where the

  government obligated itself to move for departure, the court may inquire as to whether the

  aid rendered by the defendant constitutes substantial assistance. Price, 95 F.3d at 368.

  However, where the government retains it’s discretion under the plea agreement, it is

  unnecessary for the court to determine whether the defendant’s actions amounted to

  substantial assistance. Garcia-Bonilla 11 F.3d at 47; Price, 95 F.3d at 368 citing

  Aderholt, 87 F.3d at 742. The question of whether or not the government has retained its

  discretion to refuse to move for a downward departure based on substantial assistance

  turns on the specific language of the plea agreement at issue. Price, 95 F.3d at 368.

         Neither of the two exceptions are applicable to this case. The plea agreement at

  issue herein expressly states that the government retains “sole and non-reviewable

  discretion” over the decision of whether or not a motion for downward departure from the

  sentencing range called for by the guidelines will be submitted in the event petitioner

  provided substantial assistance.



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         Moreover, Judge Doherty specifically advised petitioner of the full import of that

  provision noting the government did not have to file a motion on her behalf and in that

  event, there was little if anything she could do about it. In response, petitioner expressly

  stated, under oath, that she understood the agreement. Thus, there is nothing to indicate

  any confusion or lack of understanding on Delgado’s part.

         Additionally, the plea agreement contained no promise by the government to file

  motion. To the contrary, the agreement states that “no promise has been made that a

  motion will be made for departure even if the defendant complies with the terms of this

  agreement in all respects. . . .” Delgado also advised the court while under oath that no

  promises other than those in the plea agreement had been made to her. [plea tr. pg. 44].

         Delgado’s testimony at the plea hearing, her colloquy with the court, and the

  express terms of the written plea agreement and documents signed in connection with the

  plea clearly refute any claim that the government relinquished it’s discretion and was

  thereby obligated to file a motion for departure on Delgado’s behalf. The record is clear

  and unambiguous.

         Because the plea agreement at issue herein expressly retains the government’s

  absolute discretion on whether or not to file for a downward departure and contains no

  promise that such a motion would be filed, the government did not obligate itself to

  move for departure. Accordingly, the court cannot grant Delgado the relief she seeks on

  this basis.



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         Likewise, Delgado has not shown that the government was motivated by an

  unconstitutional consideration. Initially, the undersigned notes that Delgado does not

  argue that the government’s failure to file a motion for downward departure was based

  upon any cognizable unconstitutional motive. She does not assert that the refusal is based

  on her membership in any protected class or for any religious or racial reasons. To the

  extent that her allegations may be construed as a claim that her due process rights were

  violated because the government's refusal to file a motion for downward departure, that

  claim is without merit. Defendants have no constitutional right to a "substantial

  assistance" departure. Aderholt, 87 F 3d at 743. Delgado suggests that the government’s

  (Grayson’s) refusal to move for downward departure was in bad faith. However, the Fifth

  Circuit has expressly rejected such bad faith claims limiting review solely to claims of

  unconstitutional motive. Solis, 169 F.3d at 227 fn.3 3 ; See also Aderholt, 87 F.3d at 742-

  743; and Wade, 504 U.S. at 185-186 (a district court has the authority to review the

  government's failure to move for a downward departure only if the court finds that the

  refusal is based on an unconstitutional motive).

         Petitioner also suggests that the government negotiated the plea in bad faith

  because “it sought to use the [filing of a] 5k1.1 Motion to coerce this defendant into


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          In Solis, the Fifth Circuit found as follows:
         “In Abuhouran, the [Third Circuit] noted that even when the Government retains ‘sole discretion’
         over whether or not to offer a § 5K1.1 motion, district courts may depart in cases where the
         Government refuses to offer the motion in bad faith. W e disagree with this portion of the court’s
         opinion. In cases where the plea agreement expressly states that the government retains sole
         discretion over the decision as to whether or not to submit a motion, we have held that a refusal to
         do so is reviewable only for unconstitutional motive.”

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  testimony in the instant trial . . . .” To the extent that Delgado suggests that the

  government used the possibility of the filing of such a motion as an improper inducement

  for her plea, that claim is without merit. Under similar circumstances, the Fifth Circuit

  has expressly rejected this same argument in United States v. Aderholt, 87 F.3d 740 (5 th

  Cir. 1996).4

           Finally, Delgado’s claim that the government’s (Grayson’s) decision not to file a

  Section 5k1.1 Motion is arbitrary and capricious warrants no relief. Delgado asserts that

  the government (Grayson) was requiring her to provide information against a co-

  defendant for trial, rather than allowing her to divulge knowledge of “criminal conduct in

  the broader context.” However, that is exactly what the plea agreement permits the

  government to do. Delgado was required to “cooperate fully and truthfully in the


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             In Aderholt, the defendant argued that “the Government negotiated the plea agreement in bad faith because
  it never intended to file a §5K1.1 motion, and the Government breached the plea agreement by refusing to file the
  motion.” Aderholt, 87 F.3d at 742. He further argued that “the possibility of a §5K1.1 motion was an inducement
  for the plea” which violated his right to due process. Id. at 743. Thus, the defendant claimed that he was entitled to
  downward departure. In so doing, he implicitly asked the court to determine that his actions amounted to substantial
  assistance. Id. at 742-743.
            The Fifth Circuit disagreed with the defendant. First, as in the instant case, the court found that by the terms
  of the plea agreement the government had retained its discretion to move for departure. Accordingly, the court could
  not review the government’s conduct in light of the agreement, nor could it determine whether the defendant had
  rendered substantial assistance as such inquiry is reserved solely for those cases in which the government
  surrendered its discretion. Id. at 743. Rather, review was limited to whether the government’s failure to file was
  based upon unconstitutional motivations. Id. at 742-743. Although the defendant argued that the government had
  induced him to plead guilty by deceitfully offering the possibility of the filing of a motion for downward departure
  when it never intended to file such a motion, the court held that “the implication of the principle of just return for
  giving up constitutional rights requires the existence of a plea bargain in which the government bargains away its
  discretion. There can be no inducement when the government retains sole discretion.” Id. at 743. Thus, because the
  defendant had not demonstrated any cognizable unconstitutional motive and the plea agreement had reserved the
  government’s discretion, petitioner’s claims were rejected.
            In light of Aderholt, any similar claim by Delgado claim must likewise be rejected. The government did not
  promise to file a motion for downward departure and did not surrender it’s discretion to determine if such a motion
  would be filed, nor has Delgado demonstrated any unconstitutional motive for the government’s failure to so move.
  Accordingly, this court cannot review the government’s conduct in failing to move for departure, nor can this court
  determine whether petitioner has rendered substantial assistance.

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 Government’s investigation and prosecution of the acts which led and relate to the

 charges in this matter . . . such cooperation including, but not limited to, testifying . . . at

 trial if requested.” The plea agreement does not permit Delgado to pick and choose the

 information which she wishes to provide, nor does it permit her to determine the

 information that she will provide against any particular co-defendant, as she suggests. It

 is the government which determines what information it seeks with respect to this and

 other criminal cases. While Delgado may have information about other criminal activity,

 that is apparently not information the government deems relevant, and it is not the role of

 this court to direct or oversee the exercise of the government’s prosecutorial judgment.

        Moreover, the government has offered an explanation for its refusal, at this stage,

 to move for a downward departure; Delgado has not fully cooperated by divulging

 information she possesses against a co-defendant as is required by the terms of her plea

 agreement, thereby rendering her “useless as a witness for the Government”. There is

 nothing before this court contradicting the government’s assertion that, at this stage of the

 proceedings, it has declined to exercise it’s discretion to move for departure pursuant to §

 5K1.1 based upon Delgado’s incomplete responses during her debriefing and refusal to

 provide information against a particular co-defendant about whom its investigation

 reveals that Delgado has knowledge of illegal activities. Delgado’s generalized assertions

 indicate nothing more than her disagreement with the government’s decision. However,

 such generalized allegations do not establish a constitutional violation and provide no



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 grounds for relief. United States v. Carrizo, 53 F.3d 1282 (5 th Cir. 1995) (unpublished)

 citing Wade, 112 S.Ct. at 1844; see also United States v. Urbani, 967 F.2d 106, 110 (5 th

 Cir. 1992) (rejecting a broad reading of Wade’s statement that there be a rational

 relationship to a legitimate government end to justify refusal to downward depart in cases

 alleging arbitrary conduct). For these reasons, there is nothing arbitrary or capricious

 about the government’s (Grayson’s) decision. To the contrary, it appears that the

 government’s decision rests upon, and is supported by, a rational basis.

        This court has already denied Delgado’s Motion to Disqualify Assistant United

 States Attorney Brett L. Grayson. [rec. doc. 601]. Accordingly, to the extent that Delgado

 additionally seeks removal of Grayson, the undersigned will not revisit the issue.

        Based on the foregoing reasons, the undersigned recommends that Delgado’s

 Motion for Independent Consideration of 5K1.1 Eligibility be DENIED.5

        Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this report and recommendation within

 fourteen (14) days following the date of its service, or within the time frame

 authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either

 the factual findings or the legal conclusions accepted by the district court, except

 upon grounds of plain error. Douglass v. United Services Automobile Association, 79

 F.3d 1415 (5th Cir. 1996).


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         The undersigned expresses no opinion on the effect of Gall v. United States on the
 continuing need of a § 5K1.1 motion.

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        Counsel are directed to furnish a courtesy copy of any objections or responses to

 the District Judge at the time of filing.

        Signed this 18 th day of February, 2010, at Lafayette, Louisiana.




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